          Case 1:15-cr-02071-SAB             ECF No. 120        filed 11/23/15       PageID.222 Page 1 of 1
O PS 8
(3/15)
                                                                                                            FILED IN THE
                               UNITED STATES DISTRICT COURT                                             U.S. DISTRICT COURT
                                                                                                  EASTERN DISTRICT OF WASHINGTON


                                                              for                                  Nov 23, 2015
                                             Eastern District of Washington                            SEAN F. MCAVOY, CLERK



U.S.A. vs.                      Mendoza, Jhonny                           Docket No.          0980 1:15-cr-02071-SAB-5

                                  Petition for Action on Conditions of Pretrial Release
         COMES NOW Linda J. Leavitt, PRETRIAL SERVICES OFFICER presenting an official report upon the conduct
of defendant Jhonny Mendoza, who was placed under pretrial release supervision by the Honorable U.S. Magistrate Judge
James P. Hutton sitting in the court at Yakima, Washington, on the 12th day of November, 2015 under conditions of pretrial
release including the following condition:

Condition #6: Defendant shall report to the United States Probation Office before or immediately after release and shall
report as often as they direct, at such times and in such manner as they direct.

         RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

The defendant is alleged to be in violation of his conditions of pretrial supervision in the Eastern District of Washington by:

Violation #1: Failing to report to the United States Probation office as directed for pretrial supervision due to pending
Oregon state felony charges (case #15cr30595) of Possession and Delivery of Methamphetamine.

                              PRAYING THAT THE COURT WILL ISSUE A WARRANT
                                                                            I declare under the penalty of perjury
                                                                            that the foregoing is true and correct.
                                                                            Executed on:       November 23, 2015
                                                                    by      s/Linda Leavitt
                                                                            Linda J. Leavitt
                                                                            U.S. Pretrial Services Officer

THE COURT ORDERS
[ ]  No Action
[ X] The Issuance of a Warrant
[ ]  The Issuance of a Summons
[ ]  The incorporation of the violations contained in this
      petition with the other violations pending before the
      Court.
[ ]  Defendant to appear before the Judge assigned to the case.
[ X] Defendant to appear before the Magistrate Judge.
[ ]  Other
                                                                              Signature of Judicial Officer

                                                                                11/23/2015
                                                                              Date
